Case 19-10825 Doci1

Fill in this information to identify your case:

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United States Bankruptcy Court for the:

WESTERN DISTRICT OF KENTUCKY

 

Case number (if known)

 

© Check if this an
amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4g

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is available.

1.

Debtor's name

U.S.A. Drilling Company, Inc.

 

 

 

 

 

 

 

 

 

 

 

2. All other names debtor
used in the last 8 years
Include any assumed
names, trade names and
doing business as names
3. Debtor's federal
Employer Identification XX-XXXXXXX
Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
2339 Cherry Tree Road
Burkesville, KY 42717
Number, Street, City, State & ZIP Code P.O, Box, Number, Street, City, State & ZIP Code
Cumberland Location of principal assets, if different from principal
County place of business
Cumberland Co. Kentucky
Number, Street, City, State & ZIP Code
5. Debtor's website (URL)
6. Type of debtor ™@ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

DC Partnership (excluding LLP)
C Other. Specify:

 

 

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Debtor —_ U.S.A. Drilling Company, Inc. Case number (if known)

Name

7. Describe debtor's business

 

A. Check one:

O Health Care Business (as defined in 11 U.S.C. § 101(27A))
0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
OD Railroad (as defined in 11 U.S.C. § 101(44))

0 Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

O) Clearing Bank (as defined in 11 U.S.C. § 781(3))

@ None of the above

B. Check all that apply

CO Tax-exempt entity (as described in 26 U.S.C. §501)

DC Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

2111
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C) Chapter 7
O Chapter 9

HM Chapter 11. Check ail that apply:

0 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oa

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
© Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

No.
D Yes.

District _ When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

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BNo
CJ Yes.

Debtor Relationship

 

District When Case number, if known

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Debtor

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Name

U.S.A. Drilling Company, Inc.

Case number {if known)

 

 

41. Why is the case filed in Check all that apply:
this district? . . , .
@ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.
OAbankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.
12. Doesthedebtorownor Hino
h ssession of an . : : ‘ae: :
real property or pareanal C Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check all that apply.)
© It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

CZ It needs to be physically secured or protected from the weather.

D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

QO Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
O No

[J Yes. Insurance agency

 

Contact name

 

Phone

 

 

aa Statistical and administrative information

13. Debtor's estimation of Check one:

available funds

B Funds will be available for distribution to unsecured creditors.

OC After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of i 4-49
creditors 0 50-99
0 100-199
O 200-999

C0 1,000-5,000
D2 5001-10,000
D 10,001-25,000

1 25,001-50,000
C1] 50,001-100,000
0 More than100,000

 

15. Estimated Assets l@ $0 - $50,000

DZ $50,001 - $100,000
[$100,001 - $500,000
C1 $500,001 - $1 million

O $1,000,001 - $10 million

0 $10,000,001 - $50 million
C] $50,000,001 - $100 million
0 $100,000,001 - $500 million

OD $500,000,001 - $1 billion

D1 $1,000,000,001 - $10 billion
C3 $10,000.000,.001 - $50 billion
OO More than $50 billion

 

16. Estimated liabilities CF $0 - $50,000
1 $50,001 - $100,000
@ $100,001 - $500,000

OC $500,001 - $1 million

C) $1,000,001 - $10 million

C2 $10,000,001 - $50 million
[2 $50,000,001 - $100 million
(2 $100,000,001 - $500 million

C1 $500,000,001 - $1 billion

C) $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
OO More than $50 billion

 

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Debtor U.S.A. Drilling Company, Inc.

Name

ia Request for Relief, Declaration, and Signatures

Case number (if known)

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor

{ have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is trued and correct.

| declare under penaity of perjury that the foregoing is true and correct.

Executedon August 8, 2019
MM /DD/YYYY

X isi Michael Davidson
Signature of authorized representative of debtor

 

Title President

Michael Davidson

 

“Printed name

 

X isi Robert C. Chaudoin

18. Signature of attorney
Signature of attorney for debtor

Robert C. Chaudoin 84351
Printed name

Harlin Parker
Firm name

519 E. 10th Street

P.O. Box 390

Bowling Green, KY 42102-0390
Number, Street, City, State & ZIP Code

Contact phone 270-842-5611 Email address

84351 KY
Bar number and State

Date August 8, 2019

 

MM /DD/YYYY

chaudoin@harlinparker.com

 

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